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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________

 NICHOLAS BARONE                                    : CIVIL ACTON No. 2:23-cv-02821
                                                    :
                  Plaintiff,                        :
          vs.                                       :
 CITY OF PHILADELPHIA, ET AL.                       : JURY TRIAL DEMANDED
                                                    :
                          Defendants.               :
                                                    :

______________________________________________________________________________

        DEFENDANTS, CITY OF PHILADELPHIA AND TRACEY GORDON’S
                  MOTION FOR SUMMARY JUDGMENT

       Defendants, Tracey L. Gordon, and the City of Philadelphia (“Defendants”), by and

through their undersigned counsel, Marshall Dennehey, P.C., respectfully move for Summary

Judgment pursuant to Federal Rule of Civil Procedure 56(c), on the grounds that there is no

evidence in this case upon which a jury could find in favor of Plaintiff on the claims against the

Defendants, thereby, Defendants are entitled to judgment as a matter of law. In support thereof,

Defendants submit the attached Memorandum of Law, which is incorporated here by reference.

                                             Respectfully submitted,

                                             MARSHALL DENNEHEY, P.C.


                                     BY:
                                             JOHN P. GONZALES, ESQ.
                                             JAHLEE J. HATCHETT, ESQ.
                                             Attorney ID No(s): 71265 / 313604
                                             2000 Market Street, Suite 2300
                                             Philadelphia, PA 19103
                                             (215) 575-2871 Fax (215) 575-0856
                                             Email: jpgonzales@mdwcg.com /
                                             jjhatchett@mdwcg.com
                                             Attorneys for Defendants
DATE: April 7, 2025
